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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  OCEAN MAITE FRANCIS,                             Case No. 24-cv-01140-VC
                 Plaintiff,
                                                   ORDER APPOINTING PRO BONO
          v.                                       COUNSEL
  NANCY MCKINNEY,
                 Defendant.



       At today’s status conference, Ms. Francis requested appointment of counsel in this

matter. The request is granted. The Court appoints Adam Lauridsen, Victor H. Yu, Lauren Kane,

Jacquie P. Andreano, and Ellen Watlington of Keker, Van Nest & Peters LLP to represent Ms.

Francis. If counsel wishes to meet with Ms. Francis immediately before Monday’s 2 p.m. status

conference, they can use the courtroom for that, and the Court will direct the Marshal to bring

Ms. Francis early. Counsel should email the Courtroom Deputy, Bhavna Sharma, by 11 a.m.
Friday to let her know whether, and if so at what time, they would like to meet with Ms. Francis

in the courtroom before the hearing.

       IT IS SO ORDERED.

Dated: March 21, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
